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UNITED STATES DISTR[CT C()UR'I`
I)ISTRIC'I` OF SOUTH DAKOTA

 

 

SOUTHERN DISTRICT

SALA NAAMBWE and YVETTE
NIMENYA,

Piaintiffs, Case No.: 4:17-cv-04123-LLP
vs. PLAINTIFFS’ RESPONSES T{)

DEFENDANT’S STATEMENT OF

SMITHFIELD FOODS, INC., MATERIAL FACTS

Defendant.

 

 

 

Corne now Piaintiffs Sala Naalnbwe and Yvette Nimenya and respectfully submit this
Responsive Statement of Maten'al F acts pursuant to Fed. R. Civ. P. 56 and D.S.D. Civ. L.R.
56.1(b) as the non~moving parties’ response to Defendant Sinithi`leld Foods, lnc.’s Staternent of
Material Facts (Doc. # 32). The citations in the Ple.intiffs’ responses below refer to the exhibits
attached to the Aft`ldavit of Stephanie Pochop, which is filed contemporaneously with Plaintiff_s’
Suppiemental Statement of Materiai Facts in opposition to the Defendant’s pending Motion for
Summary Judglnent.

PLAINTIFFS’ RESPONSES TO DEFENI}ANT’S STATEMENT OF MATERIAL FACTS
1. Smithfz`eld owns a pork processing plant in Sioux Falls, where Nimenyd and Naambwe
have worked since 2011 and 2013, respectively (Declaration ofScotl Reed [“Reed

Decl. "] 112.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 1 of its

Statement of Material Facts.

2. Nz`menya originally isfrom Rwanda, and Naambwe originally isjrom the Democrotic

Republic ofCongo. (Deposition onvette Nimenyo [“Nimenya Dep. ”] 12:]5-18;

 

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Deposition ofSala Naamhwe ["Naaml)we Dep. ”] 5 0.‘ 6-1 2. )
Plaintiffs concur With Defendant’s statement in numbered Parngraph 2 of its
Statement of Material Facts.

3. Since 2014, both Plainti]j@ have worked on the day shift in Department ]9, Smoked Meats
Wash. (Nimenya Dep. 26.'8~10,' Reed Decl. 1[ 2.)

Plaintiffs concur with I)efendant’s statement in numbered Paragraph 3 of its
Statement of Material Faets.

4. T he 52-day shift workers in Department l 9 perform tasks on five di]j‘erent production
lines, on which hams are packaged into casings, hung on “irees” (stands), and sentto the
smokehouse or deli department (Deposition ofGary Loger [“Loger Dep. ”]'39.'4~40:]2.)
Plaintiffs concur With Defendant’S statement in numbered Paragraph 4 of its
Statement of Material Facts.

5. Separately, not on a moving production line, Department 19 also processes ribs and
other meats designated for Arby Js and other customers (Loger Dep. 40.‘13-16,'
Declaration ofGary Loger [“Loger Decl. ”] 1[1] 5-7.) The ribs and meat pieces come to
the department in large vats. Employees use hooks to remove the meat pieces from the
vats, place them on a table, and hang them on trees Once hang, the meat is taken for
further processing or distribution (Id.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 5 of its
Statement of Material Facts.

6. ln 2016 and 2017, Gary Loger and Russ Hultman were the two supervisors in

Department 19. (Naambwe Dep. 108:2]-]09:2,‘ Nimenya Dep. 3 3 .‘] 0-2] . ) The

supervisors reported to David Hillberg, Operations Manager. (Reed Dep. ll ,'22-23,)

 

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Piaintiffs concur With Defendant’s statement in numbered Paragraph 6 of its
Stntement of Material Facts.

Hourly employees at the plant are members of United Food and Commercial Workers
Local 304A. (Reed Decl. 11 6.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 7 of its
Statement of Material Facts.

Employees may bid for open positions which are posted in the plant,' if they are awarded
the position, they “own ” that job. (ReedDecl. 1l 6,' Loger Dep. 41.‘6-42.‘]; LogerDecl. 1]1[
8-9.) Employees who do not have “bid ” jobs are considered to be on “open work” - they
are assigned to temporarily vacant positions in their departments as needed (Id.)
Plnintiffs concur With Defendant’s statement in numbered Paragraph 8 of its
Statement of Material Facts.

Nimenya has always had a bid job on the "Honey Line. ” H\limenya Dep. 23.']8- 25 .'5. )
Naambwe was on open work until late 2017. U\laambwe Dep. 133.'19-2].)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 9 of its
Staternent of Material Facts.

On the Honey Line, workers prepare hams to be placed into nets (called "socks”). The
socks are placed on a "horn ” and opened wide enough for the ham to slide in. T he sock
is then clipped. (Naambwe Dep. 58:20-59:20,‘ Nimenya Dep. 23.'24-25.'5.)

Plaintiffs concur with Dei'endant’s statement in numbered Paragraph 10 of its
Statement of Material Facts.

Since 201T 0, the Human Resources Department ("HR ") at the plant has been headed by

Scoit Reed, Human Resourccs Director. (Deposition of Scott Reed [“ReedDep. ”] 5 .'8-23,

 

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Plaintiffs concur With Defendant’s statement in numbered Paragraph 11 of its
Statement of Material Facts.

Among Reed ’s direct reports are two Human Resources Managers, Carrie Moate and
Monica Derby. (Reed Dep. 9.'] 5-21.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 12 of its
Statement of Material Facts.

Reed has overall responsibility at the plant for promoting compliance with, and providing
guidance and education on, Smithfield’s ami-discrimination and and-retaliation policies
(Reed Dep. ]5:4-]6.'2.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 13 of its
Statement of Material Facts.

Smithjield ’s anti-discrimination, ami-harassment and ami-retaliation policies are found

'in the plant ’s employee handbook (Reed Dep. ]5.'4-16:2; Dep. Ex. 2), in the Smithjield

Code ofConduct (ld., Dep. Ex. 3), and in the union contract (Reed Decl. 1[ 6.)
Piaintiffs concur With Defendant’s statement in numbered Paragraph 14 of its
Statement of Material Facts.

T he Code ofConduct is reviewed during orientation with all new employees, and each
year salaried staff must certi;j) that they have read it. (Reed Dep. 15.'14~24.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 15 of its
Statement of Material Facts.

New hire orientation also includes a video about sexual harassment Waambwe Dep.

124.'6-19; Nimenya Dep. 3 7.'12~38:25.)

 

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Piaintiffs concur with Defendant’s statement in numbered Paragraph 16 of its
Statement of Material Facts.

Smithfield maintains a hotline which employees may call at any time to report
(anonymously, if they wish) concerns about illegal conduct including harassment
discrimination and retaliation (Reed Dep. 8.'2-7, Dep. Ex. 3.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 17 of its
Statement of Material Facts.

All employees at the plant receive annual training on the subjects ofharassment,
discrimination retaliation and respectful workplace conduct, and Reed also provides
such training to individuals and departments on an ad hoc basis. (Reed Dep. 15.'18~

l 6:] 2.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 18 of its
Statement of Material Facts.

At the start ofPlaintijjfs’ employment both signed forms acknowledging their receipt of
the employee handbookJ the Code ofConduct, and training relating to sexual
harassment (Dep. Exs. l, 19.)

Piaintiffs concur With Defendant’s statement in numbered Paragraph 19 of its
Statement of Material Facts.

T he Human Resources department maintains an open-door policy, and employees are
free to bring questions and concerns there ji”om 7 am to 5 pm, consistent with their
obligation to be at their work stations on time. (Reed Dep. 12.'12~22, 31 .'] 6-32.'1,)
Plaintiffs dispute Defendant’s statement in numbered Paragraph 20 of its Statement

of Material Facts. As long as it is an authorized area, employees can go anywhere in the

 

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plant on their breaks. (Tab D: Reed Depo at 40) The HR office is an authorized common
area in the plant that employees are authorized to go to. (Tab D: Reed Depo at 41; Tab
F: Derby Depo at ll) Jolm Morrell HR managers are supposed to have an open door.
(Tab F: Derby Depo at 25, 29-30) Employees are told that an HR employee will make
themselves available if an employee comes to the HR office with a question or concern.
(Tab F: Derby Depo at 28; Tab E: Moate Depo at 9-10) Smithfleld represents that “[W]e
are doing everything we can to make speaking up easy to do and have provided various
ways for anyone to raise a question cr ccncern. “ (Tab M: Code of Conduct)

The employee handbook requires employees to be at their work stations on time, and to
notijj) supervisors if they will be late to work or returning from a break (Reed Decl. 1181
Ex. C.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 21 of its
Statement of Material Facts.

The employee handbook contains a set of work rules, for which ranges of disciplinary
action are prescribed Disciplinary action ultimately is left to management ’s discretion
(Reed Decl. il 9, Ex. C.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 22 of its
Statement of Material Facts.

On February 19 or 20, 2016, a co-worker ofPlainti]j%" named Scott Genzler made
reprehensible racist comments to them and to another co~worker named Lorena Morales
while they all worked on the Honey Line. (Naambwe Dep. 56.'21-57.'14, 59:21-60:21,
68.‘16~73:10,' Nimenya Dep. 60.'5-18, 61 .'13-62:24, 65 .'25-70:22, 72.' 7-76.‘18, 77:14~

78:1; Deposition ofLorena Morales [“Morales Dep. ”] 23 .'1 4-2 7.'2,' 34:25-36:4.) No

 

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supervisor was present at the time (Id.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 23 of its
Statement of Material Facts but dispute that it is a complete statement of the
material facts. Gen_zler was angry at l\laambwe and Ninrnenya and said, “Bitch, open
the fucking socks like this’° as he tried to tell them to do something (Tab A: Naarnbwe
Depo at 60; Tab B: Nimenya Depo at 66) l-le swore at them again (Tab A: Naambwe
Depo at 60) Genzler said, “If you don’t want to work a job, you have to go back to your
fucking country Africa.” (Tab A: Naambwe Depo at 68; Tab B: Nimenya Deo at 68)
Naambwe and Ninruenya were visibly frightened and started to talk and pray with each
other in Swahili. (Tab A: Naambwe Depo at 69; Tab B: Nimenya Depo at 69; Tab C:
Morales Depo at 25) Genzler then told them, “Stcp speaking fucking ~ your language,
speak fucking English.” (Tab A: Naarnbwe Depo at 69; Tab B: Nimenya Depo at 69)
Naambwe responded that it was a free country and she could speak Whatever language
she wanted (Tab A: Naambwe Depo at 70) As their shift finally ended, Naambwe
heard Genzler telling co-Workers that he had done it because of “these two monkeys,”
referring to her and Ninrnenya. (Tab A: Naambwe Depo at 73; Tab C: Morales Depo at
25)

Genzler also pushed hams down the line too fast, so that one glanced Morales on the hip
and another fell on Naambwe ’s toes. (Id.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 24 of its
Statement of Material Facts.

The following day, Naambwe, Nimenya and Morales reported this incident to one of the

department supervisors Russ Hultman. HVaambwe Dep. 76 :1 7- 79:24,‘ Nimenya Dep.

 

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81.'20-84.' 7,' Deposition ofRuss Hultman [“Hultman Dep. ”] 19:15-24, 21 .'4~22.'8. )
Plaintiffs dispute Defendant’s statement in numbered Paragraph 25 of its Statement
of Material Facts. Naambwe was upset about the comment and promptly told the union
steward about the incident that day. (Tab A: Naarnbwe Depo at 74, 76) The union
steward said he Wculd pass the incident to the supervisor. (Tab A: Naambwe Depo at 76)
Hultman called the three women and Genzler into his o]fce and asked the women to
explain fully what had happened (Id.) He asked Genzler if this was true, and Genzler
admitted that it was (Id.) Hultman responded that the matter would be taken up with
Human Resources on Monday. (Id.)

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 26 of its
Statement of Material Facts is a complete statement of the material facts. ln addition
to the three women, two union stewards, Torn Anderson and Tom Zuraff, were present at
the meeting as well. (Tab A: Naambwe Depo at 77, 78, 79; Tab B: Nimenya Depo at 81-
82) Naambwe and Ninmenya explained what they had experienced the day before. (Tab
A: Naambwe Depo at 79) Hultman asked Genzler if their description was true, and
Genzler said it was. (Tab A: Naambwe Depo at 79) Hultman said then that the matter
needed to go to HR on Monday. (Tab A: Naambwe Depo at 79, 8(}; Tab B: Nimenya
Depo at 83)

On Monday, Plainti]jfs and Morales decided to go to Human Resources themselves during
their first break, before Hultman had had an opportunity to communicate with Human
Resources about the incident Waambwe Dep. 81.‘11~82.'13,' Nimenya Dep. 84:8-85:5;
Morales Dep. 2 7.'3~29.'1 4, 36.'21-38:16,' Hultman Dep. 22.‘22-23:5.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 27 of its Statement

 

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of Material Facts. When their shift started on Monday morning, Huitman did not say
anything to the three employees about the incident (Tab A: Naambwe Depo at 82) As a
result, during their first scheduled morning break, Naarnbwe, Ninmenya and Morales
went to the HR office. (Tab A: Naambwe Depo at 81) They did not teii Hultman they
were going because they thought he knew that they would be going to HR. (Tab A:
Naambwe Depo at 82, 90~91; Tab B: Nimenya Depo at 84) Additionaily, they did not
have to teil him they were going to HR as employees can go anywhere in the plant on
their breaks ('i`ab D: Reed Depo at 40) The HR office is an authorized common area in
the plant that employees are authorized to go to. (Tab D: Reed Depo at 41; Tab F: Derby
Depo at ii) Naambwe, Ninrnenya and Moraies Were in compliance with the SPEAK
UP! policy when they had gone to report discrimination at HR during their break. (Tab
l\/l: Code of Conduct; Tab D: Reed Depo at 37)

The three women left without notijj)ing a supervisor that they might be backji‘om break
late because they were reporting the incident to HR. (Id,‘ Reed Dep. 3 7.']9-38.'4; Reed
Decl. 1[ 8, Ex. C.)

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 29 of its
Statement of Material Facts is a complete statement of the material facts. ri`hey did
not tell Hultman they were going because they thought he knew that they would be going
to HR. (Tab A: Naambwe Depo at 82, 90~91; Tab B: Nimenya Depo at 84) They were
in compiiance with the SPEAK UP! policy that HR employees train empioyees abcut.
(Tab M: Code of Conduct)

The three women were still in HR when break ended and production started up again

and because of their absence the line was idle for a period of time. (Nimenya Dep. 85:6-

 

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88:]2; Naambwe Dep. 82.'4~7, 94:4-95:8.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 30 of its
Statement of Material Faets.

Hultman learned the women were in Human Resources, and went there to instruct them
to return to the line. (Nimenya Dep. 85.'6-88:]2,' Naambwe Dep. 82.'4-7, 94.'4-95.'8,'
Hultman Dep. 25.'4-26:9,' Deposition ofCarrie Moate [“Moate Dep. "] 26.‘2~27:6, 66.'7-
68.'2,)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 30 of its
Statement of Materiai Facts.

Without knowing the reason for the three women being in Human Resources, Moate
advised Hultman that they could be given disciplinary action for not being on the
production line at the designated time, which is a violation of the company ’s attendance
rules. (Moate Dep. 18.'22-20:24, 34.'8-25,' Reed Decl. 1l8, Ex. C.)

Plaintii`fs dispute Defendant’s statement in numbered Paragraph 31 of its Statement
of Material Facts. Hultrnan told l\/ioate that the women were there because Genzler had
cailed them “bitches.” (Tab E: Moate Depo at 20) 'i`his would have been a reportable
incident under the SPEAK UP! Policy. (Tab M) However Huitman chose not to tell
Moate about the meeting on Saturday when Genzler had had admitted to swearing and
using racial slurs toward the women (Tah E: Moate Depo at 22-23) Moate called this
“misinformation” from Hultman. (Tab E: Moate Depo at 69) Hultman had a duty to
report discriminatory behavior accurately (Tab D: Reed Depo at 57, 77) Hultman
Violated Smithtield’s reporting policy by inaccurater reporting the Genzier incident to

HR. (Tab D: Reed Depo at 58)

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32. When Naambwe, Nimenya and Morales returned to Department 19, Hultman issued them

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verbal warnings for not returning to the line on time ajier their break (Hultman Dep.
26:12~20, 27:2-6, 29.'4-30:7; Moate Dep. 30:2-23.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 32 of its Statement
of Material Facts. The three women each received a written disciplinary warning from
Moate which was delivered by Hultman. (Tab B: Nimenya Depo at 90, 96; Tab C:
Moraies Depo at 29) When Naambwe returned from HR, Huitman came up to her and
handed a written warning (Tab A: Naarnbwe Depo at 96) The warnings were for being
off the line, wasting time. (Tab E: Moate Depo at 34)

Hultman also issued Genzler a written warning for his abusive conduct (Id,' Dep. Ex.
42.)

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 33 of its
Statement of Material Facts is a complete statement of the material facts. Even
though Hultman could have immediately disciplined Genzler for an obvious violation of
the Smithticid ami-discrimination policy, he did not do so. (Tab H: Loger Depo at 33-
35; Tab F: Derby Depo at 55-56; Tab D: Reed Depo at 75, 80) Genzler was not
disciplined until alter the plaintiffs were disciplined for being in the HR oftice. (Tab R, p.
2: l\/loate 2/26/16 email) After Hultman disclosed that Genzler had used racial slurs and
threatening behavior toward the women, Moate instructed that Genzler needed to be
disciplined (Tab R, p. 2: Moate 2/26/ 16 email) On Monday afternoon, Huitrnan issued
Genzler a written warning for “Rule ill 5 using profane language.” (Tab 0: 2/22f16
Genzler discipline) This discipline was issued by l\/ioate with Reed’s approval through

the HR department (Tab 0: Reed Depo at 80, 84; Tab G: Hultrnan Depo at 29)

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34. Each of the disciplinary actions were consistent with the company ’s work rules and the

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range of discnzlinefor each ojj"ense, (Reed Decl. il 9,‘ Ex. C thereto.)
Piaintiffs dispute Dei`eudant’s statement in numbered Paragraph 34 of its Statement
of Material Facts. Reed admits that the disciplinary action Anderson received for
allegedly swearing is very different than the disciplinary action that Genzler received for
admittedly swearing (Tab D: Reed Depo at 126) He also admits that the 3-day
suspension that Naarnbwe has received for a violation of Rule #15 is harsher than the
written warning that Genzier received for actual vioiation of Rule #15. (Reed Depo at
126)
Morales testified that Genzler later “humbly apologized ” for his behavior in jiont of the
department (Morales Dep. 30:7-]8.)
Plaintiffs dispute that Defendant’s statement in numbered Paragraph 35 of its
Statement of Material Facts is material lmmediately after the incident, the parties’
co-worl<e_r Kaufrnan told Genzler he should apologize. He refused (Tab J: Kaufrnan
Depo at 6) By the time they got back to work, Genzier was laughing at Naambwe and
Ninmenya for getting disciplined for trying to report him. (Tab A: Naarnbwe Depo at 99 ;
Tab B: Namenya Depo at 88)
Reedjirst learned of these events the following Thursday, when a union steward named
Tom Anderson brought them to his attention (Reed Dep. 35.'] 1~3 6.'4), and then took the
following steps:
a. Met with Hultman and Moate, and had Moate prepare a written summary of
events. (Reed Dep. 64:]5-67.‘10, Dep. Ex. 48)

b. Met with Naambwe and Genzler to independently investigate the incident, and

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reviewed all notes and emails relating to the incident (Reed Dep. 64.‘] 5-67.'] 0,
Dep. Ex. 48)

c. Called a meeting with the Union ’s president secretary-treasurer and business
agent, along with Hultman ’s managers, and proposed that Genzler be suspended
The Union pushed back on this, arguing that Genzler could not be disciplined
twice for the same ojfense. (Reed Dep. 64.']5~67:10, Dep. Ex. 48; Moate Dep.
65.']2-66:4)-

d. Reviewed Genzler ’s file and approved the recommendation of the plant manager
and safety leadership to remove Genzlerji'om a plant safety committee (the PIT
Committee) comprised of managers and hourly employees (Reed Dep. 64.']5-

6 7.'] 0,‘ Dep. Ex. 48.)

e. Instructed Hultman to cancel the verbal warnings issued to the three women and
report back to him once he had notified the women that the warnings had been
canceled Hultman did so. (Reed Dep. 64.‘15-67.‘1 0,' Hultman Dep. 48:24-50.'23;
Dep. Exs. 8, 48.)

f Reviewed with Hultman his (Reed’s) and the company Js expectations regarding
the importance of reporting incidents fully, completely and on a timely basis, and
reinforced the importance of respectful workplace communications among
employees (Reed Dep. 64.']5-67:]0.)

g. Reviewed with Moate the importance of obtaining all relevant information prior
to making recommendations for disciplinary action (Reed Dep. Reed Dep. 64.']5-
6 7.'l O.)

h. Came to an agreement with senior operations managers and the union on a

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strategy for keeping closer tabs on Department 19,' all would make more frequent
visits to the department (Reed Dep. 64.‘15-67.'] 0,' Dep. Ex. 48.)

i. Instructed Moate to follow up with the three women the following week to ensure
there had been no further misconduct Moate did so on April 4, 2016, and the
three women told her there had been no other problems with Genzler. (Reed Dep.
64.'1 5- 6 7.'] O,' Dep. Exs. 9, 48,' Naambwe Dep. 106.'12-22_)

j. Met with Genzler and the Union president together, and in that meeting told
Genzler that any repeat of his conduct would result in loss of employment (Reed
Dep. 64.']5- 67.'10,' Dep. Ex. 48.)

k. Instructed Hultman and his manager, Hillberg, to meet with Department 19 and
go over the company ’s expectations with respect to courtesy and respect in the
workplace (his meeting took place on March 8, 2016 and is memorialized in Dep.
Ex. 50.) (Reed Dep. 64.']5~67.'10; Dep. Exs. 48, 50.)

l. Spoke to Department 19 himself on October 4, 201 6, at which time he gave a
presentation on respectful workplace conduct and reviewed Smithfteld’s anti-
harassment and anti~discrimination policies (Reed Dep. 4 7.'9~1 9,‘ Reed Decl. 1l
l(), Ex. D`)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 36 of its Statement
of Material Facts. Reed met with Thomas Anderson on Thursday because Anderson
was complaining that the women had been disciplined (Tab D: Reed Depo at 42) This
was when Reed first learned that Genzler had said more than “bitches” to the plaintiffs
(Tab D: Reed Depo at 36) If there is a manager who is not enforcing company policy,

HR managers are supposed to inform Reed. (Tab E: l\/loate Depo at 16; Tab D: Reed

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Depo at 13) Moate did not report to Reed until he asked as a result of Anderson’s
complaint, and only then did she tell l-lillman and Reed that Hultrnan had been inaccurate
about (faiiing to) report a racial discrimination claim. (Tab E: Moate Depo at 31-32, 52)
Even though Reed recognized that Hultrnan had not been accurate in his report to HR
about the Genzler incident, Reed instructed Hultman to document the facts of the incident
and interact with the plaintiffs about it. (Tab D: Reed Depo at 83-84; Tab R: Reed notes
from 2/29/16; Tab Q: Hultrnan 3/3/l6 entail to Reed) Reed admits that Genzler’s
disciplinary action was insufficient considering that he admitted to overt discriminatory
behavior. (Tab D: Reed Depo at 65)

Reed claims he wanted Genzler to get more discipline but he couldn’t do that
because of “double jeopardy” under the union contract since l\/ioate had already issued
the disciplinary action based upon Hultman’s inaccurate claim that Genzler had (only)
used the word “bitches” to his co-worl<ers. (Tab D: Reed Depo at 67) Anderson
disputes that the union contract created “doubie jeopardy” that would have prevented
Reed from appropriately disciplining Genzler. (Tab K: Anderson Depo at 24)

During his process, Reed did not document that he learned that Hultman violated
Smithfield’s reporting policy by inaccurately reporting the Genzler incident to HR. (Tab
D: Reed Depo at 58) He learned that Moate failed to properly investigate the three
women’s claims when she saw them in HR before she approved a disciplinary action.
(Tab D: Reed Depo at 73, 75) Reed knew that Moate failed to properly investigate the
facts of Genzler’s actions before she approved a disciplinary action for him. (Tab D:
Reed Depo at 76) Reed knew that Moate failed to report that Hultrnan had inaccurater

reported a race discrimination complaint to HR. (Tab D: Reed Depo at 76) Reed did not

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issue any disciplinary warning to Moate. (Reed Depo at 76) Reed declined to discipline
Hultman for his inaccurate report; instead, Reed “reviewed expectations about
reporting” with Hultman. (Tab D: Reed Depo at 74, 76) Hultrnan and Moate received
very different disciplinary treatment than the Plaintiffs.

Accordz`ng to both Plaz'ntiffs and Morales, they never again experienced any other race-
based conduct like Genzler ’s @‘rom Genzler or anyone else). (Naambwe Dep. 112:17-23,
268:14-47; Nimcnya Dep. 54:8-14, 106:6-9; Morales Dep. 30:24-31:1.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 37 of its
Statement of Material Facts insofar as they were not subject to more racial slurs.
Plaintijj‘s concede that their compensation has never been reduced during their
employment at Smithj?eld,' rather, it has increased regularly as prescribed by the union
contract U\faambwe Dep. 268.']8-2],' Nz'menya Dep. 26:8-25, 31 .'4-32.'2]. )

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 38 of its
Statement of Material Facts is a complete statement of material fact. Naambwe Was
suspended from Worl< in a retaliatory disciplinary action in December 2016. (Tab P:
12/08/16 disciplinary actions) Even after this discipline Was reduced in 2018, her pay
was not restored (Tab D: Reed Depo at 121)

Naawmbe and Nimenya alleges that lead employee Lt'.s'a Christion has assigned them to
work alone on a production process for Arby’s/ribs, when normally two or more people
perform that task together. (Nimenya Dep. l l l .'2]-120.'3,' Naambwe Dep. 191.'1 6-
195:] 7, 229.'1 7-232:23,' 233:23-235.' 6.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 39 of its

Statement of Material Facts.

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40.

Naambwe filed a union grievance in which she protested her assignment to this job on
August 22, 2016. (Naaml)we Dep. 191-195, 229-233; Dep. Ex. 21.)
Plaintiffs concur With Defendant’s statement in numbered Paragraph 40 of its

Statement of Material Facts.

41.Arby’s/ribs tasks sometimes are assigned to one person ata time. (Loger Decl. il 6,‘

42.

43.

Deposition ofLisa Christion ["Christion Dep. ”] 38.'19-40:3.)

Plaintit`fs dispute I}efendant’s statement in numbered Paragraph 41 of its Statement
of Material Facts. Plaintiffs are only aware of themselves being assigned this difficult
task that requires assistance (Tab B: Nirnenya Depo at ll 1-12, ll3, ll'l; Tab W:
Anderson 2/15/17 statement)

The following people have performed Arby ’s/ribs task alone.' Lisa Christion, Becky
Kaafman, Wally Mohammed, Fernando Peleon, Gloria Knorr. (Id.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 42 of its Statement
of Material Facts. Plaintiffs are only aware of themselves being assigned this difficult
task that requires assistance (Tab B: Nimenya Depo at lll-lZ, 113, 117; Tab W:
Anderson 2l1 5/17 statement)

Sometimes one person is assigned to do all of the Arhy ’s-related tasks.' taking meat from
the vats, putting the meat on trees, and moving the trees away. (Loger Decl. ‘|l 6.)
Plaintiffs concur With Defendant’s statement in numbered Paragraph 43 of its
Statenient of Material Facts, but dispute that anyone but the I’iaintiffs Were
assigned to perform this task alone. (Tab B: Nimenya Depo at lll-lZ, 113, 117 ; Tab

W: Anderson 2/15ll7 statement)

44. As a lead employee, Lisa Christion is not a snpervisor. She has no power to hire, jire or

l'l

 

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45.

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47.

48.

make disciplinary decisions (Reed Decl. il 6,~ Christion Dep. 43.‘9~19.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 44 of its
Statement of Material Faets. Christion has the title of “lead” in the department, which
means that she fills in for supervisors when they are not present ("l`ab I: Christion Depo
at 6)

Christion was not involved in the Genzler incident (See Undispated Material Facts 23-
33, 36 and all record citations in support thereof )

Plaintiffs concur with Defendant’s numbered Paragraph 45 of its Statement of
Material Facts.

Naambwe believes that Christion has been load andrade to many employees over the
years, and in fact is better now than she used to be. (Naambwe Dep. 15:18~] 6.'22, 19.'] 0-
20:]3, 2 7: 7~28.'19, 30.'!2-33:] U, 36:2-] 7.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 46 of its Statement
of Material Facts. Piaintiffs and several other employees filed a complaint that
Christion was harassing them in April of2018. (Tab AA: 4/18 written complaint)

HR Manager Monica Derby conducted an investigation into Naambwe ’sAugast 2016
grievance about the Arby ’s work assignment together with Union representative B..l.
Motley. (Deposition of Monica Derby [“Derby Dep. ”] 48.']8-5] .'13; Declaration of
Monica Derby ["Derby Decl. ”] 111 2-]0,' Exs. A-C.)

Plaintif'fs concur With Defendant’s statement in numbered Paragraph 47 of its
Statement of Material Facts.

Payroll and time records from Department l 9 for Aagast 22, 2016 established that seven

people were on leave that day, and nine people left only 15 minutes before Naambwe did

18

 

 

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49.

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51.

52.

- because they had greater seniority, were not on open work, and were permitted to go
home when they finished their bid job duties. (Derby Decl. 1[ 5, Exs. A-C.)

Plaintiffs dispute Dei`endant’s statement in numbered Paragrapli 48 of its Statement
of Material Facts. No other employees were assigned to work the Arby’s line alone
regardless of the staffing. (Tab B: Nirnenya Depo at 111-12, 113, 117; rl"ab W:
Anderson 2/1 5/ 17 statement)

On August 22, 201 6, one person left Department 19 hour before anyone else. (Id.)
Piaintiffs dispute Defendant’s statement in numbered Paragraph 49 of its Statement
of Material Facts. No other employees were assigned to work the Arby’s line alone
regardless of the staffing. ('l`ab B'. Nirnenya Depo at 111-12, 113, 117; Tab W:

Anderson 2/15/17 statement)

Human Resources managersl operations managers and Union representatives met

with Naambwe on September 12, 2016 to explain their investigation findings (Derby
Decl. 11 6, Ex. B.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 50 of its
Statement of Material Facts.

Derby ’s notes reflect that, at this meeting managers attempted to assure Naambwe she
was not being singled out, and to urge her to bring further concerns to Hillberg, Loger or
the Union steward (ld.)

Plaintiff's concur With Defendant’s statement in numbered Paragraph 51 of its
Statement of Material Facts insofar this statement summarizes What Derby wrote in
her notes.

Derby spoke to Naambwe about moving to another department if she was unhappy in

19

 

 

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53.

54.

55.

Department 19, bat Naambwe did not wish to do so. (Derby Decl. 11 9.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 52 of its
Statement of Material Facts. Naambvve loves her department and her Work there. (Tab
A: Naambwe Depo at 147) Department 19 is a preferable department at John Morrell
because it has steady Work and Worl<ers don’t get shifted from job to job or sent home.
(Tab C: Moraies Depo at 7) Other departments have longer or shorter shifts (Tab C:
Moraies Depo at 8)

Gary Loger was not involved in the Genzler incident (Loger Dep. 43.'2-5,' See aiso,
Undisputed Material Facts 23-33, 36 and ali record citations in support thereof )
Plaintiffs concur With Defendant’s statement in numbered Paragraph 53 of its
Statement of Material Facts.

Naambwe concedes that Loger has used rough language and been harsh to her and other
employees j$'om the start of her employment Waambwe Dep. 106.'23-107.'i 7,' Dep. Ex.
9-)

Plaintit`fs dispute that Defendant’s statement in numbered Paragraph 54 of its
Statement of Material Facts is a complete statement of the material facts. (Tab S:
3/4/16 email from Moate to Reed) Loger testified that he had used the f~Word at Work and
there Was a complaint about it. (Tab H: Loger Depo at 28) The result of the investigation
Was that he got a Warning, not a disciplinary action even though this Was a violation of
Smithtield policy. (Tab H: Loger Depo at 29)

Naambwe concedes that she does not know why Loger woaidpich on her. (Naambwe
Dep. 229.'6-]6.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 55 of its

20

 

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56.

57.

58.

Statement of Material Facts.

Loger assigned Naambwe was assigned to a job spraying the Arby ’s meat because she
would not select the only other open position available that day. (Loger Dep. 3 6:20~
38.']5.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 56 of its Statement
of Material Facts. Loger approached Naambwe Who Was assigned to Worlc a job With
Olgadez, and Olgadez had complained about Naambwe not doing a job right (Tab H:
Loger Depo at 57) Loger told her about Olgadez complaint and he asked her if she
understood his directive; she shrugged her shoulders (Tab H: Loger Depo at 57) Loger
escalated it because she Would only shrug, and so he removed her from the line and
assigned her to another job. (Tab H: Loger Depo at 37~38, 58) The job he assigned her
to was a particularly dirty, sticl<;y job where she Would be spraying meat With Genzler.
(Tab A: Naambwe Depo at 206, 208) Loger admits that she had never been assigned to
do that job before in her career at Department l9. (Tab H: Loger Depo at 37)

Genzler also was assigned to the job of spraying the Arby ’s meat along with Naambwe.
(Naambwe Dep. 20 7:1-208.' 7.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 57 of its
Statement of Material Facts.

In August 201 6, Naambwe told HR Manager Monica Derby that she suspected Loger and
Christion were mean to her because they shared an ojj‘ice with her former supervisor,
James Sibert. (Derby Decl. W 7-8, Ex. C.)

Plaintiffs concur with Dcfendant’s statement in numbered Paragraph 58 of its

Statement of Material Facts.

21

 

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59.

60.

In December 2016, Naambwe received disciplinary action after getting into an argument
with Loger over her work assignment (Naambwe Dep. 218.'20-229.'5,' Loger Dep. 83.' 7-
84.'25,' Reed Dep. 108:1 7-]1] :25,' Reed Decl. jljl 15-21, Ex. F.)

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 59 of its
Statement of Material Facts. Even though Naarnbwe had been performing a job that
she had picked on Monday, Loger reassigned her job to Moraeles in the middle of the
Weeh. (Tab A: Naambwe Depo at 220) While Morales does have seniority, she also has
a bid job, an assigned job. (Tab A: Naambwe Depo at 220) He sent Naambwe to
another line and pointed out that he should not be able to bump her in the middle of the
week. (Tab A: Naarnbwe Depo at 221) She finally told him that she Would do the job he
gave to her. (Tab A: Naambwe Depo at 220) Loger was swearing and yelling at her
standing very close to her. (Tab A: Naam'owe Depo at 221, 227-28) While she denies
she called him a “racist”, she did say that he Was harassing her. (Tab A: Naambwe Depo
at 221) The next day, Naambwe Was suspended for three days for calling Loger a racist
and she also received a 7~day suspension for attendance (Tab A: Naambwe Depo at 225;
Tab P: 12/06/16 disciplinary actions) She questioned the attendance discipline because
it was written in pen rather than on the usual computerized sheet. (Tab A: Naambwe
Depo at 226)

Naambwe had selected a position that Monday morning, but because the Deli line was
down, four more senior employees were sent to Department 19 to work. Morales, who
has more seniority that Naambwe, took Naambwe ’s position, and Loger ojered
Naambwe one of the remaining available jobs. (Loger Dep. 83.'7~84.'25,' Reed Dep.

109:13-23, l 1154-14,‘ Reed Decl. jljl 15~20, Ex. F thereto; Naambwe Dep. 220.'3~22.)

22

 

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61.

6l.

Plaintiffs dispute Defendant’s statement in numbered Paragraph 60 of its Statement
of Material Facts. While Morales has seniority in the department, Morales also has a
bid job. (Naambwe Depo at 221) When a job is bid, that employee owns the joh.
(Loger Depo at 41) Loger could not move a person out of a bid job, and additionally
Naambwe was supposed to be able to pick her jobs as result of an agreement With
Smithtield from her prior grievance (Tab A: Naambwe Depo at 221) Loger moved her
out of her picked job anyway, and Naambwe fomally said she would go where he
assigned her. (Tab A: Naambwe Depo at 221) Naambwe then told Loger that he was
harassing her after he yelled at her. (Tab A: Naambwe Depo at 221, 227-28)

This type of bumping is a routine occurrence (Loger Decl. 11 9.)

Plaintiffs dispute Det'endant’s statement in numbered Paragraph 61 of its Statement
of Material Facts. Morales had a bid job, which means she owned her job. (Tab H:
Loger Depo at 41) Additionally Naambwe had picked her job on Monday, which Was
What Srnithtield allowed her to do a resolution to her prior grievance about unfair work
assignments (Tab A: Naarnbwe Depo at 221 ; 'l`ab E: l\/loated Depo at 49) Neither
l\»'lorales or Naambwe should have been moved in the middle of the week. (Tab A:
Naambwe Depo at 221)

Naambwe admits that Morales has higher seniority than she does. (Naambwe dept 220.'3-
l ]).

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 61 (sic) of its
Statement of Material Facts is a material fact. l\/lorales had a bid job, Which means she
owned her job. (Tab H: Loger Depo at 4l) Additionally Naambwe had picked her job

on Monday, which was what Smithfreld allowed her to do a resolution to her prior

23

 

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grievance about unfair work assignments (Tab A: Naambwe Depo at 221; Tab E:
Moate Depo at 49) Neither l\/iorales or Naarnbwe should have been moved in the middle
of the Week. (Tab A: Naambwe Depo at 221)

62. Naambwe argued with Loger about her job assignment causing production to be delayed
for 7 or 8 minutes (Loger Dep. 83.' 7-84.'25,' Reed Dep. 109:]3-23, ill .'4-]4,' ReedDecl.
‘|H[ 15~20, Ex. F.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 62 of its Statement
of Material Faets. Loger approached Naambwe, hollering and swearing, and removed
her from the job she had selected on Monday; he moved Morales into that job even
though Morales has her own bid job that she owns. (Tab A: Naamhwe Depo at 221; Tab
E: Moate Depo at 49) ln this scenario, it was Loger who delayed the line.

63. The following day, Loger again ojj‘ered Naambwe one of two available positions, and she
again argued with him, insisting that he return her to the job she ’d had the week before
(ld-)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 63 of its Statement
of Material Facts. Pursuant to an agreement with the union to resolve her grievabce
about unfair treatment in job assignments, Naambwe was supposed to be able to pick a
job on Monday. (Tab A'. Naambwe Depo at 209~210, 221, 227-28)

64. The exchange, which was taking place in j$'ont of other employees became heated Loger
clearly heard Naambwe call him a racist. (Id,' Loger Dep. 89:22-90:]2.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 64 of its Statement
of Material Facts. While she denies that called Loger a “racist”, Naambwe did say that

he was harassing her and that he treated her like a slave. (Tab A: Naambwe Depo at 22l ,

24

 

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65.

66.

227)

During the investigation of this incident Tom Zuro]j‘,` a union steward corroborated that
Naarnbwe had called Loger a racist (Reed Decl. 1[ 19, Ex. F.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 65 of its
Statement of Material Facts insofar as this statement reflects What Zuroff said he
heard.

After conducting an investigation Reed decided to give Naarnbwe a three-day suspension
for violation of Work Rule 15, because he believed Naambwe had argued with Loger to
the point where production was delayedJ and escalated the argument with her
disrespectful and inflammatory statements (Reed Dep. l l U:l l -] l l .'25,' Dep. Ex. 31 ,'
Reed Decl. il 20, Ex. F.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 66 of its
Statement of Material Facts only insofar as this statement reflects What Reed has
claimed. Naambwe was suspended for three days for using “profane” language in calling
Loger a racist. (Tab P: l2/06/ 16 disciplinary actions) On the same day, Naambwe also
received a 7-day suspension for attendance which she claims was not accurate (and which
she questions since Loger was in charge of her attendance record). (Tab A: Naambwe
Depo at 226; Tab P: 12/08/ 16 disciplinary actions) Loger admits that he has never seen
anyone disciplined like Naambwe was on 12/06/16. {Tab H: Loger Depo at 65, 66) Tbe
same day, Reed issued a 3-day suspension to Anderson for a Rule #15 violation and for a
violation of Rnle #29 ~ which was making false statements during an investigation
because of Anderson’s objection to the way Naambwe’s discipline was handled (Tab V:

Anderson disciplinary action l2/06/l6) Anderson testified that he believed he was

25

 

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69.

70.

7l.

disciplined in retaliation for being involved with Naarnbwe and Ninmenya’s complaint
about Genzler. ('l`ab K: Anderson Depo at l4) He also noted that he got a 3-day
suspension for allegedly using an “t” word while Genzler got a written Warning for overt
racist comments (Tab K: Anderson Depo at 24) Reed admits that the disciplinary action
Anderson received for allegedly swearing is very different than the disciplinary action
that Genzler received for admittedly swearing (Tab D: Reed Depo at 126) He also
admits that the disciplinary action that Naambwe has received for violation of Rule #l 5 is
harsher than the written warning that Genzler received (Reed Depo at 126)

Naambwe also got a 7~day suspension for attendance violations but the two suspensions
were served concurrently, and part ofthe suspension was deemed to be an r‘at work”
suspension (Reed Dep. Reed Dep. l l2.‘l -l 15.‘22.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 69 (sic) of its
Statement of Material Faets.

Naainbwe ’s grievance over this incident was held in abeyance by the union for many
months, and was resolved in January 2018 when the suspension was reduced to a written
warning (Dep. Exs. 32, 56,' Reed Dep. 120.'6-]2.'], 165:5-166:22.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 70 of its Statement
of Material Facts. Plaintiffs do not know when or why the discipline was reduced: the
notation in her disciplinary record is not dated and is signed by Smithtield rather than the
union. (Tab P. p 21 Reduced 12/08/16 disciplinary sheet) Even though it was reduced to
a written warning, Naambwe’s pay was not restored (Tab D: Reed Depo at lZl)

When Reed advised Naambwe of the disciplinary action, he ojj"ered her the opportunity to

move to another department so that she would not have to work with Loger, an

26

 

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72.

73.

opportunity Naambwe declined (Reed Decl. il 2l, Ex. F.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 71 of its
Statement of Material Facts but dispute that it is a complete statement of the
material facts. Naambwe loved her department and her work there. ('l`ab A: Naarnbwe
Depo at 147) Moreover Department 19 was a very good department to work in with
security and hours that other departments did not have, so this was equivalent to asking
her to take a material change in job duties as a result of her protected activity. complaints
(Tab C: l\/lorales Depo at 7-8)

tn December 201 4, Naambwe complained that a co~worker in Department 19, Juan
Ogaldez, had gestured toward his penis and looked at her, which she interpreted as a
request that she touch his penis. Ogaldez denied this. Waambwe Dep. 128:24-130:24,
141:6~14, 143.'25~ 144:11, 151:5~11,' Reed Decl. 1[1{ 4-5, Ex. B,' Moate Decl. 1111 3~8,' Ex.
A,' Loger Dep. 79.‘5-80.‘] 7,' Loger Decl. 1l1[ 3 -4, Ex. A.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 72 of its
Statement of Material Facts.

Loger, Moate and Reed conducted an investigation into this incident and could not
corroborate that Ogaldez had engaged in this behavior. Loger Dep. 50.'3-6, 79:5-80:] 7,'
Loger Decl. ‘|H[ 3 -4, Ex. A,' Reed Dep. 93:]4- 94.‘9,' Reed Decl. 111 4-5, Ex. B,' Moate
Decl. W 3-9,' Ex. A.) l
Plaintiffs concur with Defendant’s statement in numbered Paragraph 73 of its
Statement of Material Facts. Another employee, Morales, had also witnessed Olgadez
behavior but during the investigation, she was never asked about it. (”l`ab C: Morales

Depo at 19, 20)

2?

 

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74.

75.

76.

Ogaldez accused Naarnl)we of working too slowly, and of throwing meat at hint all of
which Naarnbwe denied (Id.)

Plaintifi`s concur With Defendant’s statement in numbered Paragraph 74 of its
Statement of Materiai Facts.

At the conclusion of the investigation Naambwe was given the option oftrans]%rring to
another department or staying in Departrnent 19, with the understanding thatshe might
sometimes have to work with Ogaldez. She chose to stay in Departinent 19. (Id.,'
Naambwe Dep. 147:]5-20,)

Piaintiffs dispute Dei`endant’s statement in numbered Paragraph 75 of its Statement
of Material Facts. To resolve the 2014 sexual harassment complaint, Reed told
Naambwe that she and Olgadez would not have to work together any longer, and that
they would be assigned to different lines in the department (Tab A: Naambwe Depo at
146) Naarnbwe’s union representative, lan Strum, confirmed to her that this was the deal
that had been negotiated (Tab A: Naamhwe Depo at 151, 152, 156) There are at least 5~
7 different “iines” where employees in Department 19D can work so it is possible for
employees on the same day shift in the department not to work near each other. (Tab H:
Loger Depo at 46-47) After the complaint in 2014, Naam‘owe and Olgadcz did not work
together in Department l9D until after her EEOC mediation was scheduled in March
2017. (Tab A: Naamhwe Depo at 152) Bct`ore March 2017, ifNaam`owe went into an
area in the department where Oigadez was working, Loger would kick her out of the area.
('i`ab A: Naambwe Depo at 150)

Both employees were counseled about respectful conduct going forward (Reed Decl. 11

5, Ex. B.)

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77.

78.

Plaintiffs concur with Defendant’s statement in numbered Paragraph 76 of its
Statement of Material Facts as Defendant does not seem to differentiate between
victim and harasser when the Plaintiffs have reported discriminatory treatment

In April 2016, the Union raised a concern on Naamhwe ’s behalf that Loger was forcing
her to work with Ogaldez in contravention of a promise allegedly made to her in 2014
that she would never have to work with or near Ogaldez again (Naaml)we Dep. 146.']3-
25, 147.'22-148:1 6; Reed Dep. 92:9-93.‘5, 94.'1 1-24; Reed Decl. 1{1} ll~l$, Ex. E.)
Plaintiffs concur with Defendant’s statement in numbered Paragraph 77 of its
Statement of Material Facts but disputes that it is a complete statement of the
material facts. When Naawmbe was assigned to work with Olgadez in 2017, she
complained to Reed that Loger and Huitman Were assigning her to work with Olgadez
again and reported that she was uncomfortable (Tab A: Naambwe Depo at 157, 159,
165-66) She reported that she believed this was retaliation (Tab D: Reed Depo at ll();
'i`ab A: Naambwe Depo at 168)

Reed immediately looked into this allegation and reviewed his notes of the Decemher
2014 incident (ld.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 78 of its
Statement of Material Facts. Reed told Naambwe that he did not have Written proof that
she didn’t have to work with Olgadcz after the 2014, and he advised Naambwe that she
would now be required to work with Olgadez. (Tab A: Naarnbwe Depo at 165-66) Their
work assignments made it so that Oigadez and Naawmbe had to stand so close that they

touched each other. (Tab B: Nimenya Depo at 133; Tab H: Loger Depo at 88)

79. The contemporaneous documentation of this incident did not memorialize a promise that

29

 

 

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80.

81.

Naaml)we would never have to work with Ogaldez again (Id.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 79 of its
Statement of Material Facts only insofar as Smithfield does not have any Written
documentation of its agreement with Naambwe. To resolve the 2014 sexual
harassment report, Reed told Naambwe that she and Olgadez would not have to work
together any longer, and that they would be assigned to different lines in the departmentl
(Tab A: Naamhwe Depo at 146) Naambwe’s union representative, lan Strum, confirmed
to her that this was the deal that had been negotiated (Tab A: Naambwe Depo at l51,
152, 156) There are at least 5-7 different “lines” where employees in Department 1933
can work so it is possible for employees on the same day shift in the department not to
work near each other. (Tab H: Loger Depo at 46-47) After the complaint in 2014,
Naambwe a and Olgadez did not work together in Department l9D until after her EEOC
mediation session was set in March of 20l7. (Tab A: Naambwe Depo at 152)

T he contemporaneous documentation of this incident reflected that Ogaldez and
Naambwe were told they would have to continue to work together occasionally (Id.)
Plaintiffs concur with Defendant’s statement in numbered Paragraph 80 of its
Statement of Material Facts only insofar as it reflects what Smithfield chose to
document

Naambwe concedes that Ogaldez did nothing inappropriate to her after the Deceml)er
2014 incident (Naaml)we Dep. 150~15],' Reed Decl. ii 13, Ex. E.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 81 of its Statement
of Material Facts. Both Olgadez and Naambwe were unhappy about being forced to

work to gether. (Tab A: Naambwe Depo at l68, 172) it made Naarnbwe feel like she was

30

 

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82.

83.

84.

trash. (Tab A: Naambwe Depo at 173) Olgadez complained about Naambwe’s
performance and it caused a confrontation between Loger and Naambwe. (Tab H: Loger
Depo at 57)

Occasionally Naambwe chose work assignments that brought her into close contact with
Ogaldez. (Loger Dep. 50.'13-52:15, 53.'25-54: 7', 56:]3-57:3, 87.'19-89:1,' 5 7.'5-58:],
80.‘]8~82:]9; Dep. Ex. 45.)

Plaintiffs dispute I)ei`endant’s statement in numbered Paragraph 82 of its Statement
of Material Facts. Both Olgadez and Naambwe were unhappy about being forced to
work together. (Tab A: Naambwe Depo at 168, 172) lt made Naambwe feel like she was
trash (Tab A: Naambwe Depo at 173) Naawmbe tried to take out a protection order so
she would not have to work near Olgadez. (Tab X)

Although Naaml)we conceded Ogaldez had done nothing improper since the one
(uncorroborated) incident in 2014, she obtained a civil protective order against him in
March 201 7 in which she asked that Ogaldez he ordered to stay 100 miles away ji'om
her. (Naambwe Dep. 172:11-20, 173.'20~174.'11; Dep. Ex. 20,' Dep. Ex. 20.)

Piaintiffs dispute Defendant’s statement in numbered Paragraph 83 of its Statement
of Material Facts. Naambwe attempted to take out a protection order against Olgadez
because she Was afraid of him in the workplace (Tab A: Naambwe Depo at 172; Tab X:
3/31/17 protection order from HR tiie) The protection order states that Naambwe was
being forced to work with Olgadez and that when he Worked next to her, she felt “scared
and shocked and ili.” (Tab Y, p. 3: 3/31/17 protection order iiling)

In the protective order, Naamhwe did n_ot say that Ogaldez did anything improper after

2014. (Dep. Ex. 20.)

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85.

Plaintiffs dispute Defendant’s statement in numbered Paragraph 84 of its Statement
of Material Facts. The protection order states that Naambwe Was being forced to work
with Olgadez and that when he Worked next to her, she felt “scared and shocked and ill.”
(Tab Y, p. 3: 3/31/17 protection order iiling)

As a result, Ogaldez feared to come to work and was fired for attendance violations
(Naainbwe Dep. 172.'11~20, l 73 .'20-] 74.'11,' Dep. Ex. 20.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 85 of its Statement
of Material Facts is a material fact. Loger called Oigadez at home and asked what the
deal was; Olgadez told him he Wasn’t coming to Work because of the protective order.

(Tab G: Loger Depo at 86)

86. At around that time, Naambwe was diagnosed with paranoia and PTSD. (Naarnbwe Dep.

87.

264.'] 7-266:9.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 86 of its
Statement of Material Facts.

Naarnbwe admits she gave her health care providers false information about Ogaldez.‘
that he “regularly” sexually assaulted her (id l 78.']2~23),' that, in March 201 7, he tried
to coerce her into touching his genitals and stabbed her with something in the back (id.

l 78.'24- l 79.‘20 ),' that a man at work was placing "witchcraft spells " on her (id. l 78.'24-
l 79.'20),' and that the man who harassed her had been fired for sexual assault and this
created less stress for her (id. l 76:20~] 78.'1]).

Plaintiffs dispute Dcfendant’s statement in numbered Paragraph 87 of its Statement
of Material Facts. Plaintiff reported this information to her doctor as she understood

and she did not Write her medical records.

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88.

89.

90.

91.

92.

Naambweji`led another union grievance on July 21, 2017, based on an incident in which
Hultman tapped her on the shoulder and asked her, “What are you going to do now that
your partner is gone? ” (Naambwe Dep. 252:20-253.'19; Reed Dep. 96.'23~97.'12, 163-64,
176:15- 177.'9,' Hultman Dep. 35.'1~36:8; Reed Decl. il 11 24-26.)

Plaintii`fs concur with Defcndant’s statement in numbered Paragraph 88 of its
Statement of Material Facts.

Hultman was referring to Tom Anderson, whom he mistakenly believed to have bid out of
the department (1d )

Plaintiffs concur with Defendant’s statement in numbered Paragraph 89 of its
Statement of Material Facts.

Reed immediately investigated this complaint resolved the grievance in favor of
Naambwe, and disciplined Hultman for this conduct (Id.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 90 of its
Statement of Material Facts.

Reed ’s contemporaneous notes reflect that he and Operations Manager Garney Henle
met with Naambwe and Motley to explain the disciplinary action that had been taken and
to assure Naambwe they agreed that Hultman ’s conduct was inappropriate (Id.)
Plaintiffs concur With Defendant’s statement in numbered Paragraph 91 of its
Statement of Material Facts.

In September 201 7, Naambwe again complained again about Hultman, accusing him of
intentionally spraying her with water and then intentionally pressing his body againsther
“booty’J when he walked through a tight spot on the line behind her. (Naambwe Dep.

25 3 :22- 259:22,' Hultman Dep. 3 7.'1 6~38:8,' Reed Dep. 104.'11-1 07.'5; Reed Decl. 111| 2 7-

33

 

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93.

94.

95.

96.

28, Ex. G.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 92 of its
Statement of Material Facts.

Reed investigated this incident (ld.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 93 of its
Statement of Material Facts.

After his investigation Reed concluded that Hultman sprayed the women with water
accidentally, and impolitely did not apologize (ld.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 94 of its
Statement of Material Facts.

Reed could not corroborate Naambwe ’s allegation that Hultman intentionally pushed or
ground himself against her. (Id.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 95 of its Statement
of Material Facts. Hultman told Loger that he had not intended to touch Naambwe and
had only touched her because he Was trying to get by her in a tight space (Tab H: Loger
Depo at 76-77)

Hultman denied that he had pushed or ground himself against Naambwe. (ld)
Plaintiffs dispute Defendant’s statement in numbered Paragraph 96 of its Statement
of Material Facts. Hultman told Loger that he had not intended to touch Naambwe and
had only touched her because he Was trying to get by her in a tight Space. (Tab H: Loger
Depo at 76-77) Reed believed Hultman’s version over Naambwe even though he knew
that Huitman had been inaccurate about reporting to HR before (Tab D: Reed Depo at

105)

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97. Hultman was sent for additional management training after this incident (ld.)
Piaintiffs concur with Defendant’s statement in numbered Paragraph 97 of its
Statement of Material Facts.

98. Naambwe testified that she believes Hultman might “do something to her, ” such as shoot
her with a gun. (Naambwe Dep. 262.']3~263.'2.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 98 of its
Statement of Materiai Facts.

99. ln December 201 7, Naambwe got into an altercation with Townsend, and complained
that he had taken a photograph of her with his cell phone. She said she was aji'aid he
might kill her. (Reed Dep. 135.'23-138:9,' Reed Decl. 1l 29, Ex. l.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 99 of its
Statement of Material Facts.

100. Townsend denied this, said Naambwe had “jlipped him o)jf ” and complained that
everyone in the department was scared ofNaambwe because she threatened to take
people to personnel if they made her angry. (Id.)

Piaintiffs concur with Defendant’s Statement in numbered Paragraph 100 of its
Statement of Materiai Facts insofar as it may reflect what Townsend stated in
defense of Naambwe’s complaint about him.

101 . Reed interviewed Townsend, Naambwe and four other workers in the department could
not corroborate either Naambwe ’s or Townsend’s contentions and neither employee
was disciplined (ld.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 101 of its

Statement of Materiai Facts insofar as it restates the conclusion that Smithfield

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reached.

102. When he spoke to NaambweJ Reed reiterated the company policy prohibiting photo-
taking in the plant, and Naambwe assured him she was aware of the policy and had
never violated it. (ld.)

Piaintiff dispute Defendant’s statement in numbered Paragraph 102 of its Statement
of l\/.[ateriai Facts. Reed has acknowledged that the actual policy in the plant is different

than the written policy that prohibits the use of phones in the plant. (Tab D: Reed Depo

at 137)

lO?>.A#er this incident Amanda Avila complained to HR that Naambwe had taken her
photograph at work several times. (Reed Dep. Reed Dep. 160.'1 0-161.‘3,' Reed Decl. 11
30, Ex. J.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 103 of its
Statement of Material Facts but dispute that it is a complete statement of the
material facts. Naambwe was photographing Hultrnan and Avila together in Departrnent
19 after Hnltman had been transferred to a different department in part because of the
conflict he had With the Plaintiffs. (Tab D: Reed Depo at 129) Hultrnan had not been
happy about the transfer (Tab D: Reed Depo at 131) She felt he Was there to intimidate
her. (Tab D: Reed Depo at 133, 135) Reed investigated by asking Hultrnan if he was
there to intimidate Naarnbwe and he Said no. (Tab D: Reed Depo at 133)

104.Naambwe claimed to be taking photographs to document the fact that Hult'man was in
her department r‘staring at” her and because she thought he might “do something” to
her, like shoot her with a gun. Waambwe Dep. 262:5-263:2; Reed Dep. 136.‘1-3.)

PIaintiffs concur with Defendant’s statement in numbered Paragraph 104 of its

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Statement of Material Facts.
l()S.Reed gave Naambwe received a verbal warning because she lied to him when she told
him she had never taken photographs at work, and because she refused to refrain from
doing so in the future (Reed Dep. 160.'10-161:3,' Reed Decl. 11 30, Ex. J.)
Plaintiffs concur with Defendant’s statement in numbered Paragraph 105 of its
Statement of Material Facts but dispute that this is a policy that is enforced against
any other employees in the Workplace. Reed has acknowledged that the actual policy in
the plant is different than the Written policy that prohibits use of phones in the plant.
(Tab D: Reed Depo at 137)
lOG.Naambwejiled another grievance as a result of this disciplinary action (Reed Dep.
161 :8-163:5,' Dep. Ex. 54.)
Plaintiffs concur with Defendant’s statement in numbered Paragraph 106 of its
Statement of Material Facts.
107. T he union acceded to the discipline after learning about Naambwe ’s untruthfulness and
refusal to commit to following the rules regarding photograph-taking on the production
floor. (ld.)
Plaintiffs concur with Defendant’s statement in numbered Paragraph 107 of its
Statement of Material Facts only insofar as the grievance was not successful.

108. Naambwe testified that, on one occasion, her daughter Maggie tried to reach her to tell
her that her son was ill, but HR would not deliver a message to her. (Naambwe Dep.
181.'4-191:15.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 108 of its

Statement of Material Facts.

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109. Because Naambwe did not bring this issue to any manager or to HR, no investigation
could be conducted and Smithfield has no information about this incident (Reed Decl. 11
22.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 109 of its
Statement of Material Facts.

ilO. Naambwe could not identijj/ the individual to whom her daughter tried to deliver a
message (Naambwe Dep. 190.'3-8.)

Plaintiffs concur with Defendant’s statement in numbered Paragraph 110 of its
Statement of Material Facts.

ill.ln violation of Smithfield policy, Naambwe and Nimenya testified that they took

photographs of themselves and other employees while at work on the production floor,
supposedly at the behest of the EEOC mediator before whom the parties appeared
(Naambwe Dep. 182.'24-183.'1 7,' Nimenya Dep. 129:2-1331:1 7.)

Piaintiffs dispute Defendant’s statement in numbered Paragraph 111 of its

Statement of Material Facts. They agree that the EEOC mediator recommended that

they take photographs to document their Workplace complaints but deny that the Written

Smithtield policy about photographs in the Workplace is the company policy. Reed has

acknowledged that the actual policy in the plant is different than the Written policy that

prohibits people from using their phones in the plant (Tab D: Reed Depo at 137)

112. Tom Anderson works in the pickle room, and Naambwe concedes she visited him there

to tell him about the unfair treatment she believes she received (Naambwe Dep. 242.‘7~
247.‘ 7.)

Plaintiffs concur With Defendant’s statement in numbered Paragraph 112 of its

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Statement of Material Facts.

113. The “no entry ” sign was placed on the pickle room door when food was found in that
location, and it was suspected Anderson was eating there, or allowing others to do so.
(Reed Decl. §[ 23.)

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 113 of its
Statement of Material Faets is a material fact.

1 14. T he pickle room is a food production area, and employees who do not work in that area
are not authorized to be there. (Id.)

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 114 of its
Statement of Material Facts is a material fact.

115.Naambwe concedes that Avila might have been authorized to go into the pickle room for
some reason: “She might be because she was getting inside there every day. "
(Naambwe Dep. 247.)

Plaintiffs dispute that Defendant’s statement in numbered Paragraph 115 of its
Statement of Material Facts is a material fact.

116. Naambwe argues that parties are held and photographs are taken in the label room,
whereas she got punished for taking a photograph and was chastised by Loger for
chewing gum on the production floor. (Naambwe Dep. 247-250.)

Plaintiffs concur with Dei`endant’s statement in numbered Paragraph 116 of its
Statement of Material Facts.

il?.Naambwe acknowledges that there is no raw meat in the label room. (Naambwe Dep.

24 7.'8-250:9.)

Plaintiffs dispute Defendant’s statement in numbered Paragraph 117 of its

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Statement of Materiai Facts is a material fact.
118. T he label room is not considered part of the production floor. (Reed Dep. 331 )
Plaintiffs dispute Defendant’s statement in numbered Paragraph 118 of its

Statement of Material Facts is a material fact.

Dated this find day of August, 2018.

    

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CERTIFICATE OF SERVICE

'l`he undersigned certifies that on the 2“d day of August, 2018, she electronically
filed and served a true and correct copy of this Plaintiff’ s Responsive Statement of Material
Facts in Opposition to Defendant’s Motion for Summary Judgment With the Clerk of Courts
using the CM/ECF system which Will automatically send email notification of such filing to the
following counsel:

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